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 6                         UNITED STATES DISTRICT COURT
 7                          FOR THE DISTRICT OF ARIZONA
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     F.R., on his own behalf and on behalf of his No. CV-21-00339-PHX-DLR
 9   minor child, A.A.,
10                                                [PROPOSED] ORDER APPROVING
                   Plaintiffs,                    SETTLEMENT OF MINOR’S CLAIMS
11          v.
12   United States of America,
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                  Defendant.
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 1         The Court has reviewed Plaintiff’s Motion for Court Approval of Settlement of
 2   Minor’s Claims, to which Defendant has no objection. For good cause, IT IS
 3   ORDERED:
 4      1. The Court approves the settlement of the Lawsuit.
 5      2. The Court approves the allocation of the settlement proceeds as requested between
 6         F.R. and A.A. ($45,000 to F.R., $65,000 to A.A.)
 7      3. The Court approves placement of A.A.’s portion of the Settlement into a pooled
 8         minor’s trust operated by Legacy Enhancement until A.A. reaches the age of 21.
 9      4. Plaintiffs’ counsel Peter Rukin shall coordinate with F.R. and Legacy
10         Enhancement for the execution of all necessary paperwork and the funding of the
11         pooled minor’s trust on behalf of A.A. and shall report back to the Court once
12         funding is completed.
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